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 5
     Attorneys for Plaintiff
 6   THERESA BROOKE
 7                             UNITED STATES DISTRICT COURT
 8
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10
     THERESA BROOKE, a married woman                 Case No: 3:20-cv-05162-JCS
11   dealing with her sole and separate claim,
                                                     NOTICE OF VOLUNTARY
12                        Plaintiff,                 DISMISSAL WITH PREJUDICE
13
     vs.
14
     WCH NAPA LLC,
15
16                         Defendant.
17
            NOTICE IS HEREBY GIVEN that Plaintiff Theresa Brooke dismisses the above
18
     action with prejudice; each party to bear own costs and fees.
19
20          RESPECTFULLY SUBMITTED this 12th day of November, 2020.
21
22                                               /s/ Peter Kristofer Strojnik
                                                 Peter Kristofer Strojnik (242728)
23
                                                 Attorneys for Plaintiff
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